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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


UNITED STATES OF AMERICA,                  :
                                           :
      Plaintiff,                           :
                                           :          CIVIL ACTION NO.
      v.                                   :          1:16-CR-0099-AT-1
                                           :
BENNETT L. KIGHT,                          :
                                           :
      Defendant.                           :
                                           :

                                     ORDER

      The Government filed a Second Superseding Indictment in this matter on

May 7, 2019. (Doc 184). The Court thereafter conducted a phone conference with

counsel on May 17, 2019, regarding the status of Defendant’s pending motions that

were filed prior to the Second Superseding Indictment. The Parties agreed with the

Court that the case should be decertified as ready for trial based on these overall

circumstances.

      The Court refers the case back to Magistrate Judge Linda Walker for further

proceedings, with these additional notations based upon the Court’s May 17th

conference with counsel. The Court’s understanding from the conference was that

Defendant planned to re-submit the pending motions (Doc. 164, 177) but that the
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parties may potentially reach some type of agreement regarding resolution of the

pending Motion in Limine (Doc. 164). Counsel should advise the Magistrate

Judge of the status of the re-submission of these motions by May 30, 2019, and

how they wish to proceed, if the motions have not been re-filed by that date or if

they have not otherwise updated the Magistrate Judge. If either party views any

portion of the Motion in Limine as solely an evidentiary matter for resolution at

trial, that party should advise the Magistrate Judge and the presiding judge

accordingly. Finally, given the case’s decertification, the Court finds that

Defendant’s Motion for Early Setting of Pretrial Conference (Doc. 181) before this

Court is moot for now, and it is therefore DENIED, though it may be renewed at a

later date when the case is once again certified as ready for trial.



       It is SO ORDERED this 22nd day of May, 2019.



                                        ___________________________________
                                        AMY TOTENBERG
                                        UNITED STATES DISTRICT JUDGE




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